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Attorneys for ProRelo, Inc. (Appearing Specially)


                         IN THE UNITED STATES DISTRICT COURT

                                      DISTRICT OF IDAHO


                                                    MOTION TO DISMISS COMPLAINT
 KATHERINE ANGEVINE McKINSTRY, an                   AGAINST PRORELO, FOR
 individual,
                                                    (1) INSUFFICIENT PROCESS AND
                Plaintiff,                          INSUFFICIENT SERVICE OF PROCESS
                                                    (OR IN THE ALTERNATIVE, TO
         vs.                                        QUASH SUMMONS AND ATTEMPTED
                                                    SERVICE); AND
 WHEATON GROUP, INC., an Indiana
 corporation; WHEATON WORLD WIDE                    (2) FOR FAILURE TO STATE A CLAIM,
 MOVING, an Indiana corporation; BEKINS             DUE TO PREEMPTION
 VAN LINES, an Indiana corporation; and
 PRORELO INC., a New Mexico corporation,            Civil No. 1:21-cv-00444-BLW

                Defendants.                         Judge B. Lynn Winmill
                                                    Magistrate


       Pursuant to Rule 12(b)(4), (5), and (6), Fed. R. Civ. P., Defendant, ProRelo, Inc., by and

through its counsel, appears specially in this matter and respectfully moves this Court to dismiss

Plaintiff’s Complaint for insufficient process and insufficient service of process (or, in the

alternative, to quash the attempted service of process) on ProRelo. ProRelo further moves the

Court to dismiss all claims against it in the Complaint, with prejudice, as these claims are
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preempted by 49 U.S.C. § 14706 (known as the Carmack Amendment to the Interstate

Commerce Commission Termination Act of 1995 (“ICCTA”)) or otherwise fail to state a claim

upon which relief may be granted.

       The motion is supported by the accompanying memorandum of points and authorities and

the Declaration of Brad Killman.

       DATED this 9th day of February, 2022.

                                          SNOW CHRISTENSEN & MARTINEAU


                                          /s/ Scott C. Powers
                                          Scott C. Powers
                                          Attorneys for Defendant
                                          ProRelo, Inc.




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                                  CERTIFICATE OF SERVICE

         I hereby certify that on the 9th day of February, 2022, I electronically filed the foregoing

with the Clerk of the Court using the CM/ECF System, which served the same on:

         Kendra Ankrum Ortiz
         ANKRUM ORTIZ LAW OFFICE, PLLC
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         Boise, ID 83709
         Attorneys for Plaintiff


                                               /s/ Erin Casaday
4864-9709-1341, v. 1
